                     Case 19-11499-mdc                        Doc       Filed 05/14/20 Entered 05/14/20 18:29:59                                Desc Main
                                                                        Document      Page 1 of 4
     Fill in this information to identify the case:
     Debtor 1
                            DONNA M. FITZPATRICK
     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the:         EASTERN                           District of PA
                                                                                                 (State)
     Case Number                19-11499-amc




     Official Form 410S1
     Notice of Mortgage Payment Change                                                                                                                             12/15


     If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
     debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
     as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

     Name of creditor:              FREEDOM MORTGAGE CORPORATION                                  Court claim no. (if known):       5

     Last 4 digits of any number you use to                                                       Date of payment change:
     identify the debtor’s account:                              7483                             Must be at least 21 days after date
                                                                                                  of this notice


                                                                                                  New total payment:
                                                                                                  Principal, interest, and escrow, if any            Forbearance



Part 1:               Escrow Account Payment Adjustment

1.      Will there be a change in the debtor’s escrow account payment?

                  No
                  Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                       the basis for the change. If a statement is not attached, explain why:


                           Current escrow payment:                                              New escrow payment:


Part 2:              Mortgage Payment Adjustment

2.      Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor’s variable-rate account?

                  No
                  Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                       Attached, explain why:


                           Current interest rate:                        %                      New interest rate:                             %

                           Current principal and interest payment:                              New principal and interest payment:


Part 3:               Other Payment Change

3.      Will there be a change in the debtor’s mortgage payment for a reason not listed above?

                  No
                  Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                       (Court approval may be required before the payment change can take effect.)

                           Reason for change:       Debtor’s request for COVID19 forbearance arrangement (see attached)

                           Current mortgage payment:                                            New mortgage payment:




     Official Form 410S1                                                   Notice of Mortgage Payment Change                                                         page 1
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Part 4:         Sign Here


The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
number.

Check the appropriate box.

         I am the creditor.

         I am the creditor’s authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
information, and reasonable belief.



X /s/ Thomas Song, Esquire                                                                   Date     May 14, 2020
   Signature


Print:                Thomas Song, Esq., Id. No.89834                                         Title   Attorney
                    First Name            Middle Name            Last Name




Company               Phelan Hallinan Diamond & Jones, LLP


Address               1617 JFK Boulevard, Suite 1400


                      Philadelphia, PA 19103

                                                                                                      Thomas.Song@phelanhallinan.
Contact Phone         215-563-7000                                                           Email    com




  Official Form 410S1                                    Notice of Mortgage Payment Change                                              page 2
         Case 19-11499-mdc            Doc      Filed 05/14/20 Entered 05/14/20 18:29:59                 Desc Main
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                              IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA (Philadelphia)
IN RE:                                                        :
DONNA M. FITZPATRICK                                          :      Bk. No. 19-11499-amc
                                  Debtor                      :
                                                              :      Chapter No. 13
FREEDOM MORTGAGE CORPORATION                                  :
                     Movant                                   :
                  v.                                          :
DONNA M. FITZPATRICK                                          :
                     Respondent                               :


               CERTIFICATE OF SERVICE OF NOTICE OF PAYMENT CHANGE SUPPLEMENT
         I certify under penalty of perjury that I served or caused to be served the Notice of Payment Change Supplement,
which has been filed on the Claims Register in the above-referenced case, on the parties at the addresses shown below or on
the attached list on May 14, 2020.
The types of service made on the parties were: Electronic Notification and First Class Mail.

Service by Electronic Notification                   Service by First Class Mail
WILLIAM C. MILLER, ESQ.                              DONNA M FITZPATRICK
CHAPTER 13 TRUSTEE                                   1203 SWARTHMORE AVENUE
P.O. BOX 1229                                        FOLSOM, PA 19033
PHILADELPHIA, PA 19105

BRAD J. SADEK
SADEK AND COOPER
1315 WALNUT STREET
SUITE 502
PHILADELPHIA, PA 19107

UNITED STATES TRUSTEE
OFFICE OF THE U.S. TRUSTEE
200 CHESTNUT STREET
SUITE 502
PHILADELPHIA, PA 19106

If more than one method of service was employed, this certificate of service groups the parties by the type of service. For
example, the names and addresses of parties served by electronic notice will be listed under the heading “Service by Electronic
Notification” and those served by mail will be listed under the heading: Service by First Class Mail.”

May 14, 2020
                                                  /s/ Thomas Song, Esquire
                                                  Thomas Song, Esq., Id. No.89834
                                                  Phelan Hallinan Diamond & Jones, LLP
                                                  1617 JFK Boulevard, Suite 1400
                                                  One Penn Center Plaza
                                                  Philadelphia, PA 19103
                                                  Phone Number: 215-563-7000 Ext 31387
                                                  Fax Number: 215-568-7616
                                                  Email: Thomas.Song@phelanhallinan.com
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This use of Official Form 410S1 and of the electronic filing method for a Notice of Payment Change is
being used to provide interested parties with notice of a forbearance arrangement, detailed below. This
form is only being used to express a change in the debtor’s payment arrangement within the functionality
available in the Courts’ CMECF systems. The use of this form in no way implies that a change in
payment amount is occurring or has occurred on the account. This filing does not imply that the
provisions of FRBP 3002.1 apply to this filing, nor does the Servicer/Creditor consent to the application
of any provisions of FRBP 3002.1 to this filing.




                              NOTICE OF TEMPORARY FORBEARANCE


Effective Date of Forbearance                              : April 1, 2020
Termination Date of Forbearance                            : September 30, 2020



FREEDOM MORTGAGE CORPORATION hereby provides notice that due to a recent financial hardship
resulting directly or indirectly from the COVID-19 emergency, the Debtor has requested, and FREEDOM
MORTGAGE CORPORATION has provided, a temporary suspension of post-petition mortgage payment(s)
due and owing in the time period referenced above (the “Forbearance Period”). This short-term relief is
consistent with the COVID-19 relief available under the Coronavirus Aid, Relief, and Economic Security
(CARES) Act.

During the Forbearance Period, all terms and provisions of the mortgage note and security instrument, other
than the payment obligations, will remain in full force and effect unless otherwise adjusted by this court or
through a loan modification.

During the Forbearance Period, Debtor and/or Debtor’s attorney (if applicable) should work with the
FREEDOM MORTGAGE CORPORATION and the bankruptcy trustee to explore potential remedies to cure
any outstanding post-petition mortgage payment(s) at the termination date of the Forbearance Period. Any
outstanding post-petition mortgage payment(s) for which there is not an agreed cure will remain due and owing
as of the termination date of the Forbearance Period.

This Notice does not constitute an amendment or modification to the Debtor’s plan of reorganization and does
not relieve the Debtor of the responsibility to amend or modify the plan of reorganization to reflect the
forbearance arrangement, if required.
